m n 13 Filed 08/24/05 Pa e 1 0f2 Pa e|D 15
§CJM Case 2: 05- --cr 20279- SHI\/| Doc-u e t LOCA ION CODE g

(Rev. 2134)

Fll-€D BY __..._....., t).c.
05 AUG 214 PM 3: 32 DockeiNo. 05-20279-Ma

THOM.»LS.1 lt GOUID ORDER TERMINATING

   

 

 

 

~33\. l13 ""T“""l`i CQ!P¥POINTMENT OF COUNSEL x
USA vs. Roderick K. §iiliiil r='i:'h!i:)liig and/or Check
AUTHORIZATION FOR one or
DIS'I`RIBUTION OF both
AVAILABLE PRIVATE |:l
FUNDS

WHEREAS, the FederalDefender's office was appointed as counsel for the
above defendant/petitioner, on the 23rd day of August , 20 05 ; and

 

WHEREAS, the court finds that funds are available from or on behalf of the above named
defendant/peitioner for payment of compensation and expenses of court-appointed counsel and/or for other
services necessary for adequate representation, and that the above defendant/petitioner is therefore
financially able to Obtain counsel or to make partial payment for representatiori, and/or for other Services
necessary for adequate representation;

IT IS THEREFORE:

Check x ORDERED that the appointment of said counsel is hereby terminated

one or

both l:| AUTHORIZED/DIRECTED that such funds in the amount of $ be
paid by said defendant/petitioner or by
as follows:

 

(enter specific terms afrepayment, i.e., date due z`flump-sum payment,' schedule and
amounts of each payment if installment )t)r.zyii:em‘l )

Thls document entered on the docket stln
o de' `

with Hu|e 55 and/or 32(@} FHCFP am 3' fm c;mpliance

_._____

Dated this 24th day of August ,20 05 .

gee/lar dea

United States Judge/Magistrate

DISTRIBUTION: COURT’S FlLE COURT APPOINTED COUNSEL PERSON REPRESENTED CLERK’S FILE

@

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CR-20279 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

.loseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sanluel Mays
US DISTRICT COURT

